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                                  United States District Court
                                    DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE


 V.

                                                                          Case Number: CR 23-I49-BLG-SPW-1
 JOSHUA MYKAL PETERSON                                                    USM Number: 91984-510
                                                                          Edward Werner
                                                                          Defendant's Attorney



THE DEFENDANT:
      pleaded guilty to count                            2
      pleaded nolo contendere to count(s) which
 □
      was accepted by the court
      was found guilty on count(s) after a plea of
 □
      not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                             Offense Ended    Count
 18 U.S.C. § 922(j) Possession Of A Stolen Firearm; Forfeiture Allegation                        09/16/2023




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 E]   Count I K1 is    □ are dismissed on the motion of the United Slates

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United Slates attorney of
material changes in economic circumstances.


                                                             September 24« 2024
                                                             Dale of Imposition of Judgment




                                                             Signature of Judge

                                                             Susan P. Walters
                                                             United States District Judge
                                                             Name and Title of Judge


                                                             September 24« 2024
                                                             bale
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